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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA

                                        )
ELEVANCE HEALTH, INC., an               )
Indiana corporation; ANTHEM             )
INSURANCE COMPANIES, INC., an )
Indiana corporation, BLUE CROSS         )
AND BLUE SHIELD ASSOCIATION, )
an Illinois not-for-profit corporation, )
                                        )
                     Plaintiffs,        )        Civil Action No.: ____________
                                        )
v.                                      )       COMPLAINT FOR DAMAGES
                                        )       AND INJUNCTIVE RELIEF
LIFEX RESEARCH CORPORATION, )
a Georgia corporation; BENEFIT          )        JURY TRIAL DEMANDED
HEALTH PLAN INC., a Wyoming             )
Corporation; STEPHEN TUCKER, an )
individual; RYSZARD BOLKO, an           )
individual; THERESE HOARD, an           )
individual; WILLIAM MCCLURE, an )
individual; and KRISTIN BULLOCK, )
an individual,
                   Defendants.

      Plaintiffs Elevance Health, Inc. f/k/a Anthem, Inc. (“Elevance”), Anthem
Insurance Companies, Inc. (“AIC”), (Elevance and AIC hereafter referred to
collectively as “Anthem”) and Blue Cross and Blue Shield Association
(“BCBSA”) (Anthem and BCBSA hereafter referred to collectively, “Plaintiffs”)
hereby allege as follows:
                            NATURE OF THE ACTION
      1.    This is a Complaint arising out of Defendant LifeX Research
Corporation’s (“LifeX”) unauthorized and unlawful use of Plaintiffs’ famous
trademarks in connection with purported health insurance. As part of a scheme to
induce consumers to purchase health insurance through an alleged employee
benefit plan, LifeX has willfully and improperly used AIC’s ANTHEM mark and
BCBSA’s BLUECARD®, BLUE CROSS® and BLUE SHIELD® word marks
and logos (the “BCBS Marks”) in blatant violation of Plaintiffs’ trademark rights.
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Specifically, LifeX affixed Plaintiffs’ trademarks to counterfeit health insurance
cards and marketing materials, falsely representing itself as an authorized client
and group policy holder of Anthem Blue Cross and Blue Shield (“Anthem BCBS”)
health insurance – without Plaintiffs’ knowledge, authorization or consent.
Defendants’ misuse of Plaintiffs’ trademarks is a deliberate fraud on consumers.
LifeX does not maintain any employee benefit plan with Anthem and is not
affiliated with Plaintiffs in any way. By misrepresenting this relationship,
Defendants are deceiving unsuspecting purchasers of health insurance and health
care providers alike, placing the public at significant risk. Consumers purchasing
this so-called benefits plan from LifeX will not receive the health insurance
coverage that they believed they purchased because LifeX has no actual
relationship with Plaintiffs and no authority to offer benefits under or related to an
Anthem BCBS plan. Indeed, LifeX is willfully selling consumers an employee
benefits health insurance plan that does not exist. Multiple consumers have already
been damaged by this fraud when they attempted to seek treatment from providers
in Blue Cross Blue Shield networks and were informed that LifeX’s purported
association with Anthem BCBS was illusory. This egregious misconduct threatens
public health and safety and must be stopped immediately. Accordingly, Plaintiffs
seek a temporary restraining order and a preliminary and permanent injunction,
and damages for Defendants’ willful trademark infringement, counterfeiting, unfair
competition, and dilution, in violation of federal and state law.
                                      PARTIES
      2.     Elevance Health Inc., f/k/a Anthem, Inc. is an Indiana corporation
with its principal place of business located at 220 Virginia Avenue, Indianapolis,
Indiana 46204 and the primary licensee of the BLUE CROSS, BLUE SHIELD,
and BLUECARD trademarks discussed below.


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      3.     AIC is an Indiana corporation with its principal place of business
located at 220 Virginia Avenue, Indianapolis, Indiana 46204, a wholly owned
subsidiary of Elevance, and the registered owner of the ANTHEM trademarks
discussed below. AIC licenses the ANTHEM trademark to Elevance’s wholly-
owned subsidiaries that operate the Anthem BCBS business.
      4.     BCBSA is a not-for-profit membership-based corporation organized
and existing under the laws of the State of Illinois, having its principal place of
business at 200 East Randolph Street, Suite 1800, Chicago, IL 60601, and the
registered owner of the BLUECARD, BLUE CROSS and BLUE SHIELD
trademarks discussed below.
      5.     Plaintiffs are informed and believe that Defendant LifeX is a Georgia
corporation with its principal place of business located at 730 Peachtree Street NE,
Suite 570, Atlanta, Georgia 30308.
      6.     Plaintiffs are informed and believe that Defendant Benefit Health
Plan, Inc. (“Benefit Health”) is a Wyoming corporation with its principal place of
business located at 30 N Gould Street, Suite R, Sheridan, WY 82801.
      7.     Plaintiffs are informed and believe that Defendant Stephen Tucker is
an individual who is the Chief Operating Officer of LifeX and the Director and
President of Benefit Health and has direct managerial control over LifeX and
Benefit Health.
      8.     Plaintiffs are informed and believe that Defendant Ryszard Bolko is
an individual who is the Chief Financial Officer of LifeX and has direct managerial
control over LifeX.
      9.     Plaintiffs are informed and believe that Therese Hoard is an individual
who is the Secretary and Director of LifeX and has direct managerial control over
LifeX.


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      10.    Plaintiffs are informed and believe that William McClure is the
Director, Secretary, and Treasurer of Benefit Health and has direct managerial
control over Benefit Health.
      11.    Plaintiffs are informed and believe that Kristin Bullock is the Director
and President of Benefit Health and has direct managerial control over Benefit
Health.
                          JURISDICTION AND VENUE
      12.    This Court has subject matter jurisdiction over the claims in this
action under 28 U.S.C. §§ 1331, 1338(a) and (b), because this action involves
claims of trademark infringement, counterfeiting, unfair competition, and dilution
arising under the Lanham Act, 15 U.S.C. § 1125. This Court has supplemental
jurisdiction over the state law claims in this action pursuant to 28 U.S.C. § 1367,
because the state law claims are so related to the federal claims that they form part
of the same case or controversy.
      13.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(d)
because Defendants reside in this District, have infringed Plaintiffs’ trademark
rights in this District, and/or a substantial part of the events giving rise to the
claims in this action occurred in this District.
                            FACTUAL BACKGROUND
      14.    BCBSA is a national association of 33 independent, community based
and locally operated health benefits companies. BCBSA’s licensees offer BLUE
CROSS and BLUE SHIELD healthcare plans that currently provide healthcare
coverage for approximately 118 million people in the United States—
approximately 1 in 3 Americans—in all 50 states, the District of Colombia, and in
Puerto Rico (the “BCBS Companies”). Nationwide, more than 2 million doctors
and hospitals contract with BCBS Companies—more than any other individual
non-BCBS insurer.
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      15.    Anthem is another one of the nation’s largest healthcare and health
benefits companies. Until 2022, Anthem conducted all business under Anthem,
Inc.1, which has roots tracing back to 1946. Anthem is a prominent leader in the
health insurance industry and currently provides health, dental, vision, and/or
pharmacy health insurance benefits to over 47 million people. Anthem currently
provides commercial Anthem BCBS or Anthem Blue Cross branded healthcare
plans to over 26 million members in the United States, including members in the
state of Georgia. Anthem is the largest licensee that uses the BCBS Marks,
offering health insurance plans under licenses to use the BCBS Marks in 14 states.
In these markets, Anthem is authorized to use certain BCBSA trademarks pursuant
to license agreements with BCBSA and generally operates as “Anthem Blue Cross
and Blue Shield” or “Anthem Blue Cross.”
      16.    An employer, as LifeX claims to be, can offer health insurance to
employees by purchasing a group health insurance plan, like those offered by
BCBS Companies, including Anthem. In order for a company to secure the
benefits of membership in an Anthem BCBS (or other BCBS Company)-affiliated
plan for its employees; benefits which include (depending on the product) access to
an Anthem BCBS provider network and BlueCard® program, the nationwide
networks of BCBS Companies described above, a company or employer must
enter into an executed written contract with a company licensed to use the BCBS
Marks such as Anthem BCBS. Such agreements specify essential terms, including
but not limited to identifying the underlying policy or product offering, identifying
who assumes underwriting risk for medical claims, and listing the types of benefits
for members, as well as information related to coverage limits and co-pays. The
contracts also expressly grant the company/employer limited authorization to use
1
 Effective June 28, 2022, Anthem, Inc. changed its name to Elevance Health, Inc.
Anthem Blue Cross Blue Shield health plans continue to operate under their existing
names in the markets they serve after the corporate entity’s name change.
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certain BCBSA and Anthem word marks and design marks, as further discussed
below. Anthem maintains a comprehensive, searchable database that includes all
of its authorized clients (i.e., companies/employers who have purchased a group
health insurance plan from Anthem). Defendants are not one of them. LifeX never
entered a contract with Anthem to offer employees a group health insurance plan
or other health insurance benefits through Anthem.
      17.    Members who are enrolled in or accessing benefits of a BCBS
Company or Anthem BCBS Plan receive an identification card that contains a
BCBSA-approved three-character prefix followed by up to 14 numeric or
alphanumeric positions required for systemwide claim routing (“Subscriber ID”)
and that uses the ANTHEM, BLUE CROSS, and/or BLUE SHIELD word marks
and logos on the Subscriber ID Cards (“ID Cards”). Subscriber ID Cards are
presented by members to healthcare providers in connection with health care
services. In turn, providers use information on the Subscriber ID Cards to verify
coverage, confirm eligibility for services, and submit claims to the insurance
company for reimbursement of healthcare services. The counterfeit identification
cards that Defendants have fraudulently issued to third persons are not genuine ID
Cards and they do not contain valid Subscriber IDs. Consumers, who purchased
health insurance through LifeX’s alleged employee benefits plan (which, does not
exist), and who possess these counterfeit ID Cards, have no health insurance
coverage or related benefits through Anthem BCBS (and likely, unknowingly,
have no health insurance coverage at all).
         The BLUE CROSS, BLUE SHIELD, and BLUECARD Marks
      18.    BCBSA owns federal registrations for the BLUE CROSS, BLUE
SHIELD, and BLUECARD Marks set forth in Exhibit A and incorporated herein
by reference (the “BCBSA Registrations.”) The BCBSA Registrations are valid,
subsisting, and in full force and effect. The incontestable registrations constitute
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prima facie evidence of their validity and of BCBSA’s exclusive right to use these
trademarks pursuant to 15 U.S.C. § 1057(b).
      19.    The BLUE CROSS and BLUE SHIELD word marks and logos have
been used since at least as early as 1934 and 1939, respectively, by the BCBS
Companies in connection with the provision of health and life insurance, health
care delivery services, financing access to healthcare, and related goods and
services, including but not limited to health insurance and plan services; health
care management and consulting services; health care and medical services; health
care delivery through medical clinics, physicians, wellness screening services, and
wellness programs, including in wound care; assessing healthcare service provider
performance; and providing services for locating and connecting with healthcare
providers and physicians (“BLUE CROSS and BLUE SHIELD Marks”). The
BLUE CROSS and BLUE SHIELD logos appear as follows 2:




      20.    The BCBS Companies, including Anthem, use the BLUE CROSS and
BLUE SHIELD Marks in commerce in connection with healthcare and health
insurance in all 50 states. In 14 states, including Georgia, Anthem conducts
business as BCBSA’s licensee under the name “Anthem Blue Cross” and/or
“Anthem Blue Cross Blue Shield.”
      21.    Generally described, the BlueCard® program allows beneficiaries of
BCBS Company plans to access their coverage and receive in-network insurance
benefits from the provider networks of other BCBS Companies when they receive

2
 BCBSA has registered other BLUE CROSS and BLUE SHIELD logos that are not
impacted by Defendants’ actions, including solid blue versions of these logos.
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medical services in states and areas other than those in which their BCBS
Company operates (the “BLUECARD Mark”). If, for example, an Anthem BCBS
plan beneficiary receives medical care in Texas (a state where Anthem BCBS does
not operate), the Anthem BCBS plan makes a coverage determination and, if the
services are covered, the BCBS Company that operates in Texas pays the claim
and the Anthem BCBS plan reimburses it.
      22.    BCBSA and/or BCBS companies have been using the BLUECARD
Mark since at least as early as 1995.
      23.    The BCBS Companies have spent many millions of dollars
extensively advertising and promoting their healthcare and health insurance
services featuring the BCBS Marks. Their promotional efforts include, among
other things, print media, internet advertising, television commercials,
sponsorships, promotions, public relations, brokers and retail partnerships, and
federally facilitated marketplaces.
      24.    The BCBS Marks are unique and distinctive, and consumers associate
these well-known and famous marks with the high-quality healthcare and health
insurance services provided by BCBS Companies. The BLUE CROSS and BLUE
SHIELD Marks are among the most recognized brands in the health and health-
related industries in the world. In past years, annual net revenue for services under
the BLUE CROSS and BLUE SHIELD Marks has exceeded $300 billion
domestically.
      25.    U.S. federal district courts and other legal panels such as the World
Intellectual Property Organization have expressly recognized the fame of the
BLUE CROSS and BLUE SHIELD Marks. For example, the court in Blue Cross
& Blue Shield Ass’n v. Blue Cross Mut. Clinic, Inc. held that the “BLUE CROSS
word mark and BLUE CROSS design marks are famous and strong marks, whether
used in association with one another or independently” for health care services and
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prepaid financing and administration of medical, hospital, and similar health care
services. 612 F. Supp. 41, 44 (S.D. Fla. Feb. 28, 1985). As another example, a
WIPO Panel found that BLUE CROSS and BLUE SHIELD Marks had acquired a
high degree of distinctiveness and fame, given the “longstanding use of the BLUE
CROSS and BLUE SHIELD marks, both separately and in conjunction,
[BCBSA’s] high volume of business transacted under or in connection with the
marks, as well as the worldwide use, registration and recognition of the marks.”
Blue Cross and Blue Shield Ass’n v. Garrett Ltd./John Nunley, WIPO Case No.
D2003-0028 (March 12, 2003).
                              The ANTHEM Marks
      26.    Anthem has continually and prominently used the word ANTHEM
alone and with other terms as trademarks in commerce in connection with
healthcare and health insurance since at least as early as July 1991 (“the ANTHEM
Marks”). Anthem conducts insurance operations in all 50 states, the District of
Columbia, and Puerto Rico (including Anthem BCBS and other Anthem
companies). Since its founding, Anthem has enjoyed continuous and significant
growth, both in size as well as sales and revenue. Indeed, Anthem’s revenue
exceeded $140 billion in each of the past two years.
      27.    Anthem has extensively advertised and promoted its healthcare and
health insurance services featuring the ANTHEM Marks and has served tens of
millions of consumers and individuals directly and through its subsidiaries in its
affiliated health plans in connection with the ANTHEM Mark. Anthem’s
promotional efforts include, among other things, print media, internet advertising,
television commercials, sponsorships, promotions, public relations, brokers and
retail partnerships, and federally facilitated marketplaces. Currently, over 26
million individuals are members of Anthem health plans featuring the ANTHEM
Marks.
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      28.    As a result of the unique and distinctive character of the ANTHEM
Marks, consumers associate the well-known and famous ANTHEM Marks with
Anthem’s high-quality healthcare and health insurance services.
      29.    In addition to its common law rights in the ANTHEM Marks, Anthem
owns federal registrations of trademarks containing the term ANTHEM to identify
its healthcare and health insurance services (the “ANTHEM Registrations”) as set
forth in Exhibit B and incorporated here by reference.
      30.    The ANTHEM Registrations are valid, subsisting, and in full force
and effect. The registrations constitute prima facie evidence of their validity and of
Anthem’s exclusive right to use these trademarks pursuant to 15 U.S.C. § 1057(b).
      Defendants’ Willful Infringement of the ANTHEM, BLUECARD,
                   BLUE CROSS, and BLUE SHIELD Marks
      31.    On information and belief, Defendant LifeX was incorporated in
November 2024 and markets itself as a research company which collects and
analyzes health data.
      32.    On information and belief, Defendant Benefit Health was
incorporated in January 2024 and markets itself as a company which administers
health benefit plans.
      33.    On information and belief, individual Defendants Stephen Tucker,
Ryszard Bolko, Therese Hoard, William McClure, and Kristin Bullock have
conceived, manage, control, and direct LifeX and Benefits Health.
      34.    To benefit from the reputation, fame, and prestige of the Anthem
Marks and BCBS Marks, and with full knowledge that Plaintiffs owned those
Marks, Defendants devised a scheme to sell purported group health insurance
offered by or affiliated with Anthem BCBS to unsuspecting consumers that LifeX
does not have the right or authority to sell. To accomplish this scheme, LifeX lures
individuals into working for LifeX in exchange for fake employee benefits,
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including health insurance plans offered by or affiliated with Anthem BCBS,
without authorization from Plaintiffs.
      35.    On information and belief, Defendants utilize brokers to recruit
individuals aged 18 to 40 for employment with LifeX as “Research Associates”
who are paid $40 per hour to perform health research activities such as surveys,
videos, quizzes, protocols, health coaching, telemedicine, and healthcare
satisfaction utilization surveys.
      36.    Defendants and their brokers represent that upon “employment” with
LifeX, a Research Associate is categorized as a W-2 employee who is entitled to
purchase LifeX’s purported employee benefits plans with much lower rates than is
typical, including health insurance plans and benefits allegedly offered by Anthem
BCBS.
      37.    Defendants provide LifeX’s new Research Associates with a LifeX
Research Associate Guide that describes the Research Associate role. The guide
features the Anthem Marks and the BCBS Marks and explains that Research
Associates can enroll in a health insurance plan offered by or affiliated with
Anthem BCBS as part of their employee benefits package. Upon information and
belief, the employee then pays LifeX a premium contribution for said group health
insurance. An excerpt from the LifeX Research Associate Guide is depicted below.




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      38.    Thereafter, when a Research Associate selects a health insurance plan
offered by or affiliated with Anthem BCBS as part of his or her purported
employee benefit package with LifeX, Defendants issue a fraudulent health
insurance ID card with a fake Subscriber ID and fake Anthem group number, also
featuring the Anthem Marks and BCBS Marks. The ID card additionally features
the LifeX logo and states that it is administered by Benefit Health Plan, Inc. An
example of one of Defendants’ fraudulent and counterfeit ID cards is depicted
below.




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      39.   This ID Card was not authorized by Plaintiffs and was not created
pursuant to any agreement with Plaintiffs. The member ID and Anthem Group #
referenced are not legitimate. Anthem does not use the BLUECARD Mark on its
ID Cards.
      40.   Defendants are not authorized by, affiliated or associated with
Plaintiffs, and are not under contract to offer any Anthem BCBS insurance plans or
related benefits or otherwise use the Anthem Marks or BCBS Marks.
                                Actual Confusion
      41.   Defendants’ unauthorized use of the ANTHEM and BCBS Marks has
caused numerous consumers to sign up for employment at LifeX, purchase what
they mistakenly believe to be Anthem BCBS insurance, and use what they
mistakenly believe to be a proper insurance ID card.
      42.   Since Defendants began using the Anthem Marks and BCBS Marks in
furtherance of their illicit scheme, Anthem has received multiple inquiries from
health care providers who were presented with Defendants’ fraudulent ID cards.

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For example, in April 2025, Anthem received an inquiry from a health care
provider about a member who presented an ID card which bore the ANTHEM,
BLUE CROSS, and BLUE SHIELD Marks, but which had an 11-digit ID number
that did not conform to the Subscriber ID requirements that all Subscriber ID cards
feature. The ID card bore the LifeX and Benefit Health logos. The purported
member did not actually have health care insurance or related benefits through
Anthem BCBS and, as a result, the services were not eligible for reimbursement at
the more favorable participating provider rate negotiated by Anthem BCBS.
       43.   Since that time, Anthem and at least one separate BCBS Company
have received numerous additional inquiries from providers that were presented
with Defendants’ fraudulent ID cards bearing the Anthem Marks and BCBS
Marks.
       44.   Defendants deliberately used the Anthem and BCBS Marks with
intent to trade on the goodwill of the ANTHEM, BLUECARD, BLUE CROSS,
and BLUE SHIELD brands, and with intent to deceive and mislead consumers of
health insurance into believing that Defendants’ proffered employer group health
insurance benefits plans and health insurance ID cards are provided, affiliated with,
sponsored, or approved by Plaintiffs. Indeed, Defendants willfully used the
Anthem Marks and BCBS Marks to induce unsuspecting consumers into becoming
“employees” for the purpose of purchasing an Anthem BCBS-affiliated group
health plan that does not exist because LifeX has no contract for the same with
Anthem BCBS.
       45.   Defendants deliberately used the Anthem Marks and BCBS Marks
with intent to deceive LifeX “employees” into believing that they are enrolled in a
health insurance plan offered by or affiliated with Anthem BCBS, when they are
not—indeed, it is unclear whether these employees have any health insurance at
all.
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      46.    Defendants deliberately used the Anthem Marks and BCBS Marks to
falsely indicate that members of the LifeX plan can receive in-network benefits
with Anthem BCBS and other BCBS Companies.
      47.    Defendants’ unauthorized use of the Anthem Marks and BCBS Marks
in connection with their fraudulent health insurance services has caused and is
likely to cause confusion regarding the source and nature of Defendants’ services,
and/or that Defendants’ services come from, are affiliated with, or are sponsored or
endorsed by Plaintiffs, when in fact no such affiliation, sponsorship, or
endorsement exists, is likely to tarnish the reputations of these famous marks, and
unfairly competes. As a result of Defendants’ wrongful activities, the Anthem
Marks and BCBS Marks have been and will continue be diluted, Defendants have
been unjustly enriched, and Plaintiffs have suffered and continue to suffer
irreparable harm and economic injury.
                           FIRST CAUSE OF ACTION
                        (By Plaintiffs Anthem and BCBSA)
                  Counterfeiting and Trademark Infringement
                                   15 U.S.C. § 1114
      48.    Plaintiffs reallege and incorporate herein by reference the allegations
set forth in Paragraphs 1 through 47 as though fully set forth herein.
      49.    Defendants’ use of the federally-registered Anthem Marks and
BCBSA Marks in the provision of health insurance services is likely to confuse or
deceive consumers into believing that Defendants’ health insurance services are
affiliated with Plaintiffs, or that the parties’ services originate from the same
source.
      50.    Defendants’ use of the federally-registered Anthem Marks and BCBS
Marks in the provision of health insurance services is further likely to confuse or


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deceive consumers into believing that LifeX members can receive in-network
benefits from Anthem BCBS and other BCBSA licensees.
      51.    Defendants’ violation of Plaintiffs’ federal trademark rights in the
federally-registered Anthem Marks and BCBS Marks is knowing, deliberate,
willful, intended to mislead, and in disregard of Plaintiffs’ rights.
      52.    Defendants’ unlawful and deceptive misappropriation of the federally-
registered Anthem Marks and BCBS Marks constitutes counterfeiting and
trademark infringement in violation of 15 U.S.C. § 1114.
      53.    Plaintiffs have no adequate remedy at law, and if Defendants’ actions
are not enjoined, Plaintiffs will suffer irreparable harm to their reputation and the
associated goodwill of their brands, including the Anthem Marks and BCBS
Marks.
                            SECOND CAUSE OF ACTION
                        (By Plaintiffs Anthem and BCBSA)
                             False Designation of Origin
                                 15 U.S.C. § 1125(a)
      54.    Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1
through 47 as though fully set forth herein.
      55.    The BLUE CROSS and BLUE SHIELD Marks have been used since
at least as early as 1934 and 1939, respectively, by the BCBS Companies in
commerce in connection with the provision of health and life insurance, health care
delivery services, financing access to healthcare, and related goods and services.
      56.    The BLUECARD Mark has been used since at least as early as 1995
by the BCBS Companies in connection with the administration of hospital, medical
and health care services.
      57.    Anthem has been using the ANTHEM Mark in connection with
healthcare and health insurance since at least as early as July 1991.
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      58.    Defendants have misappropriated the Anthem Marks and BCBS
Marks by enticing unwitting consumers into believing they would receive Anthem
BCBS provider network benefits as an employee benefit upon working for LifeX
and using the Anthem Marks and BCBS Marks on marketing materials and
fraudulent health insurance ID cards issued to LifeX employees.
      59.    Given the Anthem Marks’ and BCBS Marks’ fame, reputation, and
goodwill in the healthcare and health insurance industry, consumers have and will
continue to mistakenly associate Defendants’ purported health insurance services,
which features the Anthem Marks and BCBS Marks, with Plaintiffs.
      60.    Defendants’ conduct suggests a false connection, affiliation, and/or
association between LifeX and/or its services and Anthem BCBS and other BCBS
Companies’ services.
      61.    Defendants’ unlawful, deceptive, and misleading misappropriation of
the Anthem Marks and BCBS Marks constitutes false designation of origin in
violation of 15 U.S.C. § 1125(a).
      62.    Plaintiffs have no adequate remedy at law, and if Defendants’ actions
are not enjoined, Plaintiffs will suffer irreparable harm to their reputation and the
associated goodwill of their brands, including the ANTHEM, BLUECARD, BLUE
CROSS, and BLUE SHIELD brands.
                          THIRD CAUSE OF ACTION
                       (By Plaintiffs Anthem and BCBSA)
                           Federal Trademark Dilution
                                 15 U.S.C. § 1125(c)
      63.    Plaintiffs reallege and incorporate herein by reference the allegations
set forth in Paragraphs 1 through 47 as though fully set forth herein.
      64.    The BLUE CROSS Mark is distinctive and “famous” within the
meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).
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      65.    The BLUE SHIELD Mark is distinctive and “famous” within the
meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).
      66.    The ANTHEM Mark is distinctive and “famous” within the meaning
of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).
      67.    Defendants continue to use the ANTHEM, BLUE CROSS, and BLUE
SHIELD brands in the provision of health insurance services, including on their
marketing materials and fraudulent health insurance ID cards, without Plaintiffs’
authorization.
      68.    Defendants’ conduct is likely to harm the reputation of the ANTHEM,
BLUE CROSS, and BLUE SHIELD brands.
      69.    Defendants’ conduct constitutes trademark dilution of the ANTHEM,
BLUE CROSS, and BLUE SHIELD brands in violation of Section 43(c) of the
Lanham Act, 15 U.S.C. § 1125(c).
      70.    Defendants’ unlawful conduct is willful. Defendants deliberately used
the ANTHEM, BLUE CROSS, and BLUE SHIELD brands to entice unsuspecting
individuals into working for LifeX for a chance to enroll in health insurance plans
offering the benefits of the Anthem BCBS and other BCBS Companies’ provider
network at a lower cost.
      71.    As a result of Defendants’ conduct, Plaintiffs have suffered and will
continue to suffer damage.
      72.    Defendants’ activities have caused and will continue to cause
irreparable harm to Plaintiffs and to the substantial goodwill embodied in the
ANTHEM, BLUE CROSS, and BLUE SHIELD brands, and such acts will
continue unless restrained by this Court.




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                         FOURTH CAUSE OF ACTION
                       (By Plaintiffs Anthem and BCBSA)
                                 Unfair Competition
                              O.C.G.A. § 10-1-390 et seq.
      73.    Plaintiffs reallege and incorporate herein by reference the allegations
set forth in Paragraphs 1 through 47 as though fully set forth herein.
      74.    Defendants, by engaging in a scheme to market and offer health
insurance services and health insurance ID cards that feature the Anthem Marks
and BCBS Marks, seek to ride the coattails of the substantial reputation of the
Anthem Marks and BCBS Marks to benefit from their power of attraction, fame,
and/or prestige, and to exploit the marketing effort expended by Plaintiffs.
Defendants’ clear intent is to take advantage of the reputation of the Anthem
Marks and BCBS Marks in order to assist them to further their scheme.
      75.    Defendants’ actions have caused actual confusion or actual
misunderstanding as to affiliation, connection, or association between Defendants
and Plaintiffs and/or Defendants’ services and Plaintiffs.
      76.    Defendants have misrepresented that its health insurance services
were sponsored by, approved by, affiliated with, and/or connected to Plaintiffs.
      77.    Through its unauthorized use of the Anthem Marks and BCBS Marks,
Defendants have, in essence, offered access to discounts on purchases of health
care services from providers of the same, when such discounts or access to such
discounts are not specifically authorized under a separate contract with a provider
of health care services to which such discounts are purported to be applicable.
      78.    Defendants intended to take advantage of the Anthem Marks and
BCBS Marks to assist them in conducting their fraudulent scheme. Defendants
have caused many individuals to work for LifeX and enroll in Defendants’ likely
nonexistent insurance plan.
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      79.     Defendants’ use of the Anthem Marks and BCBS Marks as described
above constitutes unfair competition in violation of the Georgia Fair Business
Practices Act, O.C.G.A. § 10-1-390 et seq., as it is likely to deceive and mislead
the public.
      80.     Defendants’ acts of unfair competition have caused and will continue
to cause Plaintiffs irreparable harm. Plaintiffs have no adequate remedy at law for
Defendants’ unfair competition.
      81.     Plaintiffs are entitled to judgment enjoining and restraining
Defendants from engaging in further acts of infringement and unfair competition.
                           FIFTH CAUSE OF ACTION
                           (By Plaintiffs Anthem and BCBSA)
                               Dilution under Georgia Law
                                  O.C.G.A. § 10-1-451(b)
      82.     Plaintiffs reallege and incorporate herein by reference the allegations
set forth in Paragraphs 1 through 47 as though fully set forth herein.
      83.     Defendants’ use of the Anthem Marks and BCBS Marks as described
above is likely to injure Plaintiffs’ business reputation and/or dilute the distinctive
qualities of the Anthem Marks and BCBS Marks in violation of O.C.G.A. § 10-1-
451(b).
      84.     Defendants’ acts of dilution have caused and will continue to cause
Plaintiffs irreparable harm. Plaintiffs have no adequate remedy at law for
Defendants’ dilution.
      85.     Plaintiffs are entitled to judgment enjoining and restraining
Defendants from engaging in further acts of dilution.
                              PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs pray for relief as follows:
      A.      A temporary restraining order, and preliminary and permanent
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injunctive relief, enjoining and prohibiting Defendant, or its agents, servants,
employees, officers, attorneys, successors and assigns, and all others in active
concert or participation with Defendant, from:
            i.      Using the Anthem Marks and BCBS Marks, or any versions
                    thereof, in connection with the offer of employee benefit plans or
                    health insurance ID cards;
           ii.      Assisting, aiding, or abetting any other person or entity in engaging
                    in or performing any of the activities referred to in subparagraphs
                    (i) through (ii) above.
      B.     An award of damages in an amount to be determined at trial;
      C.     An award of Defendants’ profits, 15 U.S.C. § 1117(a);
      D.     An award of treble damages, 15 U.S.C. § 1117(b);
      E.     An award of attorneys’ fees and costs, 15 U.S.C. § 1117(a) and (b);
      F.     An award of statutory damages, 15 U.S.C. § 1117(c);
      G.     An award of prejudgment and post-judgment interest; and
      H.         Any further relief the Court deems appropriate.
                             DEMAND FOR JURY TRIAL
      Plaintiffs hereby demand a trial by jury on all issues in this case.



Dated: June 27, 2025                             Respectfully submitted,


                                                 /s/ David W. Long-Daniels
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                                    EXHIBIT A



    Reg. No.          Mark          Reg. Date    First Use in          Services
                                                 Commerce
 591778                            Jun. 22,     Oct. 1947        Underwriting, on a
                                   1954                          prepayment basis, the
                                                                 expense to the patient
               (Lined for Color                                  of medical care and
               Blue)                                             underwriting the
                                                                 doctor’s expense in
                                                                 furnishing medical
                                                                 care
 1912003                           Aug. 15,     Dec. 1946        Association services,
                                   1995                          namely promoting the
                                                                 delivery of quality,
               (Lined for Color                                  cost-effective, health
               Blue)                                             care
 1039940                           May 18,      Jul. 24, 1973    Indicating
                                   1976                          membership in
                                                                 applicant

 1423379                           Dec. 30,     Dec. 1972        Home healthcare
                                   1986                          services, preventive
                                                                 healthcare services,
                                                                 healthcare services
               (Lined for Color                                  rendered through a
               Blue)                                             health maintenance
                                                                 organization namely
                                                                 physician services,
                                                                 dental services,
                                                                 hospital services,
                                                                 health treatment and
                                                                 therapy services,
                                                                 diagnostic testing and
                                                                 examination services,
                                                                 family planning
                                                                 services, mental
                                                                 health services,
                                                                 nursing services and
                                                                 prescription drug
                                                                 services, and
                                                                 arranging for
                                                                 ambulance services



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 2202586                           Nov. 10,    Oct. 1996        Insurance, namely,
                                   1998                         underwriting in the
                                                                field of workers
               (Lined for Color                                 compensation with or
               Blue)                                            without a managed
                                                                care component
 3172397                           Nov. 14,    Apr. 1, 1997     Administration,
                                   2006                         financial management
                                                                and maintenance of
                                                                health savings
                                                                accounts, medical
                                                                savings accounts, and
                                                                flexible spending
                                                                accounts; insurance
                                                                claims administration
 3288739                           Sep. 4,     Nov. 30, 2006    Banking and financial
                                   2007                         services, namely,
                                                                checking and savings
                                                                account services,
                                                                electronic funds
                                                                transfer, [ cash
                                                                management and
                                                                disbursement
                                                                services, lending
                                                                services, acceptance
                                                                of deposits and loan
                                                                payments, check
                                                                cashing and check
                                                                issuance, ] electronic
                                                                payment services,
                                                                providing financial
                                                                information by
                                                                electronic means,
                                                                providing secure
                                                                financial transactions
                                                                in the nature of
                                                                electronic cash
                                                                transactions,
                                                                electronic check
                                                                processing
                                                                transactions, [ trustee
                                                                services, investment
                                                                security services,
                                                                certificates of
                                                                deposits, ] asset
                                                                management services,


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                                                              stored-value card
                                                              services, smart card
                                                              services, [ credit card
                                                              services, ] all of
                                                              which are provided in
                                                              connection with
                                                              health care coverage
                                                              plans
 5225886                         Jun. 20,    Oct. 1947        Marketing of medical,
                                 2017                         dental, vision, and
                                                              long term care
                                                              insurance, and
                                                              prescription drug
                                                              benefit plans and
                                                              Medicare benefit
                                                              plans; Marketing of
                                                              life, disability and
                                                              accidental death and
                                                              dismemberment
                                                              insurance plans;
                                                              Insurance and related
                                                              insurance services,
                                                              namely, the sale,
                                                              administration and
                                                              underwriting of
                                                              medical, dental,
                                                              vision, and long term
                                                              care insurance,
                                                              prescription drug
                                                              benefit plans, and
                                                              Medicare benefit
                                                              plans; Pharmacy
                                                              benefit management
                                                              services; Insurance
                                                              and related insurance
                                                              services, namely, the
                                                              sale, administration
                                                              and underwriting of
                                                              life, disability and
                                                              accidental death and
                                                              dismemberment
                                                              insurance plans;
                                                              Providing information
                                                              regarding insurance
                                                              and related insurance
                                                              services, namely, the


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                                                                   sale, marketing,
                                                                   administration and
                                                                   underwriting of
                                                                   medical, dental,
                                                                   vision, and long term
                                                                   care insurance,
                                                                   prescription drug
                                                                   benefit plans,
                                                                   Medicare benefit
                                                                   plans
 969385                            Sep. 25,       Nov. 9, 1972     Prepaid financing of
                                   1973                            hospital and health
                                                                   care services
               (Lined for Color
               Blue)
 990414                            Aug. 6,        Nov. 9, 1972     Prepaid financing of
                                   1974                            hospital and health
                                                                   care services

 1055560                           Jan. 4, 1977   Nov. 9, 1972     Booklets dealing with
                                                                   health care benefits


 1425238                           Jan. 13,       Dec. 1973        Home healthcare
                                   1987                            services, preventive
                                                                   healthcare services,
               (Lined for Color                                    healthcare services
               Blue)                                               rendered through a
                                                                   health maintenance
                                                                   organization namely
                                                                   physician services,
                                                                   dental services,
                                                                   hospital services,
                                                                   health treatment and
                                                                   therapy services,
                                                                   diagnostic testing and
                                                                   examination services,
                                                                   family planning
                                                                   services, mental
                                                                   health services,
                                                                   nursing services and
                                                                   prescription drug
                                                                   services, and
                                                                   arranging for
                                                                   ambulance services


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 1763481                           Apr. 6,     Dec. 1972        Association services;
                                   1993                         namely, promoting
                                                                the interest of
               (Lined for Color                                 providing quality,
               Blue)                                            cost effective health
                                                                care
 1997328                           Aug. 27,    Jan. 1, 1996     Underwriting,
                                   1996                         financing,
                                                                administration, and
               (Lined for Color                                 brokerage of life
               Blue)                                            insurance
 3172396                           Nov. 14,    Apr. 1, 1997     Administration,
                                   2006                         financial management
                                                                and maintenance of
                                                                health savings
                                                                accounts, medical
                                                                savings accounts, and
                                                                flexible spending
                                                                accounts; insurance
                                                                claims administration
 3288740                           Sep. 4,     Nov. 30, 2006    Banking and financial
                                   2007                         services, namely,
                                                                checking and savings
                                                                account services,
                                                                electronic funds
                                                                transfer, [ cash
                                                                management and
                                                                disbursement
                                                                services, lending
                                                                services, acceptance
                                                                of deposits and loan
                                                                payments, check
                                                                cashing and check
                                                                issuance, ] electronic
                                                                payment services,
                                                                providing financial
                                                                information by
                                                                electronic means,
                                                                providing secure
                                                                financial transactions
                                                                in the nature of
                                                                electronic cash
                                                                transactions,
                                                                electronic check
                                                                processing
                                                                transactions, [ trustee

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                                                              services, investment
                                                              security services,
                                                              certificates of
                                                              deposits, ] asset
                                                              management services,
                                                              stored-value card
                                                              services, smart card
                                                              services, [ credit card
                                                              services, ] all of
                                                              which are provided in
                                                              connection with
                                                              health care coverage
                                                              plans
 5220845                         Jun. 13,    Nov. 9, 1972     Marketing of medical,
                                 2017                         dental, vision, and
                                                              long term care
                                                              insurance, and
                                                              prescription drug
                                                              benefit plans and
                                                              Medicare benefit
                                                              plans; Marketing of
                                                              life, disability and
                                                              accidental death and
                                                              dismemberment
                                                              insurance plans;
                                                              Insurance and related
                                                              insurance services,
                                                              namely, the sale,
                                                              administration and
                                                              underwriting of
                                                              medical, dental,
                                                              vision, and long term
                                                              care insurance,
                                                              prescription drug
                                                              benefit plans, and
                                                              Medicare benefit
                                                              plans; Pharmacy
                                                              benefit management
                                                              services; Insurance
                                                              and related insurance
                                                              services, namely, the
                                                              sale, administration
                                                              and underwriting of
                                                              life, disability and
                                                              accidental death and
                                                              dismemberment


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                                                                    insurance plans;
                                                                    Providing information
                                                                    regarding insurance
                                                                    and related insurance
                                                                    services, namely, the
                                                                    sale, marketing,
                                                                    administration and
                                                                    underwriting of
                                                                    medical, dental,
                                                                    vision, and long term
                                                                    care insurance,
                                                                    prescription drug
                                                                    benefit plans,
                                                                    Medicare benefit
                                                                    plans
 1293243                             04-Sep-       Dec. 31, 1968    Prepaid Financing
                                     1984                           and Administration of
                                                                    Dental and Related
                                                                    Health Care Services

               Standard Cross
               Design (in Color)

 1826582                             15-Mar-       Dec. 1934        Prepaid financing,
                                     1994                           and administration
                                                                    thereof, of dental,
                                                                    hospital and related
               Solid Cross Design                                   health care services
               (in Color)

 1699627                             07-Jul-1992   Jun. 28, 1988    Health care services
                                                                    rendered through a
                                                                    health maintenance
                                                                    organization; namely,
                                                                    physician services,
                                                                    dental services,
               Solid Cross Design                                   hospital services,
               (in Color)                                           home health care
                                                                    services, preventative
                                                                    health care services,
                                                                    health care services,
                                                                    medical lab services,
                                                                    counselling services
                                                                    in the field of family
                                                                    planning, mental
                                                                    health services and
                                                                    pharmacy services




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 2194956                            13-Oct-     Oct. 1996        Insurance, namely,
                                    1998                         underwriting in the
                                                                 field of workers
                                                                 compensation with or
                                                                 without a managed
               Standard Cross                                    care component
               Design (in Color)

 554817                             12-Feb-     Dec. 1934        Distribution of
                                    1952                         hospital care on a pre-
                                                                 payment financing
                                                                 basis

               SOLID CROSS
               DESIGN (in color
               coded for Blue)

 3132422                            22-Aug-     Aug. 01, 1988    Items of clothing and
                                    2006                         headgear, namely, t-
                                                                 shirts, shorts,
                                                                 sweatshirts,
               Standard Cross                                    sweatpants, pullover
               Design                                            tops, jackets, coats,
                                                                 socks, hats, caps and
                                                                 visors
 3132424                            22-Aug-     Aug. 01, 1988    All purpose athletic
                                    2006                         and sports bags,
                                                                 beach bags, carry-on
                                                                 bags, tote bags,
                                                                 luggage, briefcase-
               Standard Cross                                    type portfolios and
               Design                                            umbrellas

 3132578                            22-Aug-     Aug. 01, 1988    Pencils, pens, writing
                                    2006                         paper, envelopes,
                                                                 announcement cards,
                                                                 non-electric pencil
                                                                 sharpeners, drawing
                                                                 pads, paper
               Standard Cross                                    identification tags,
               Design                                            paper sheets, note
                                                                 pads, greeting cards,
                                                                 paperweights, stands
                                                                 for pencils and pens,
                                                                 calendars, diaries and
                                                                 stickers




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 3219839                             20-Mar-     Aug. 01, 1988    Playthings, namely,
                                     2007                         plastic toy animal
                                                                  figurines and stuffed
                                                                  animals

               Standard Cross
               Design
 3132572                             22-Aug-     Jan. 01, 1979    Coffee mugs and cups
                                     2006



               Standard Cross
               Design
 5352918                             12-Dec-     Dec. 1934        Insurance and related
                                     2017                         insurance services,
                                                                  namely, the sale,
                                                                  administration and
                                                                  underwriting of
                                                                  medical, dental,
               Solid Cross Design                                 vision, and long term
               (in Color)                                         care insurance,
                                                                  prescription drug
                                                                  benefit plans,
                                                                  Medicare benefit
                                                                  plans; pharmacy
                                                                  benefit management
                                                                  services; insurance
                                                                  and related insurance
                                                                  services, namely, the
                                                                  sale, administration
                                                                  and underwriting of
                                                                  life, disability and
                                                                  accidental death and
                                                                  dismemberment
                                                                  insurance plans;
                                                                  providing information
                                                                  regarding insurance
                                                                  and related insurance
                                                                  services, namely, the
                                                                  sale, administration
                                                                  and underwriting of
                                                                  medical, dental,
                                                                  vision, and long term
                                                                  care insurance,
                                                                  prescription drug
                                                                  benefit plans,
                                                                  Medicare benefit
                                                                  plans




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 7207985                          31-Oct-     Class 9:         Class 9: Providing a
                                  2023        Aug. 01, 2018    website featuring
                                                               healthcare related
                                              Class 36: Nov.   resources in the
                                              09, 1972         nature of online non-
                                                               downloadable
                                              Class 41: Jan.   publications, namely,
                Standard Cross                01, 2015         reports, infographics,
                Design                                         stories, and news
                                              Class 42: Jan.   articles in the fields of
                                              01, 2015         health, wellness, and
                                                               healthcare
                                              Class 44:        Class 36: Insurance
                                              Jan. 01, 2015    services, namely,
                                                               underwriting,
                                                               issuance, and
                                                               administration of
                                                               health insurance
                                                               Class 41: Providing a
                                                               website featuring
                                                               healthcare related
                                                               resources in the
                                                               nature of online non-
                                                               downloadable
                                                               publications, namely,
                                                               reports, infographics,
                                                               stories, and news
                                                               articles in the fields of
                                                               health, wellness, and
                                                               healthcare
                                                               Class 42: Providing a
                                                               website featuring
                                                               information about
                                                               healthcare related
                                                               scientific research
                                                               Class 44: Providing
                                                               personalized remote
                                                               healthcare and
                                                               medical information
                                                               in the nature of
                                                               medical consultations,
                                                               namely, providing
                                                               diagnosis,
                                                               information, advice,
                                                               intervention,
                                                               monitoring and
                                                               treatment in real time
                                                               via telephone, online
                                                               chat or
                                                               videoconferencing,
                                                               online remote
                                                               services in the area of
                                                               healthcare and

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                                                                       wellness through the
                                                                       use of personal
                                                                       computer and mobile
                                                                       wireless devices;
                                                                       providing a healthcare
                                                                       resources website
                                                                       featuring information
                                                                       in the fields of health,
                                                                       wellness and
                                                                       healthcare
 2634534                                15-Oct-       Nov. 05, 1949    Newsletters
                                        2002                           pertaining to health
                                                                       and insurance

                Solid Shield Design


 1735461                                24-Nov-       Jun. 28, 1988    Health care services
                                        1992                           rendered through a
                                                                       health maintenance
                                                                       organization; namely,
                                                                       physician services,
                                                                       dental services,
                SOLID SHIELD                                           hospital services,
                DESIGN (Color                                          home health care
                Coded)                                                 services, preventative
                                                                       health care services,
                                                                       health care services,
                                                                       medical lab services,
                                                                       counseling services in
                                                                       the field of family
                                                                       planning, mental
                                                                       health services and
                                                                       pharmacy services
 562430                                 29-Jul-1952   Sep. 05, 1949    Underwriting, on a
                                                                       prepayment basis, the
                                                                       expense to the patient
                                                                       of medical care and
                SOLID SHIELD                                           underwriting the
                DESIGN in Blue                                         doctor's expense in
                (Color Coded)                                          furnishing medical
                                                                       care
 1319825                                12-Feb-       Jun. 01, 1969    Prepaid Financing
                                        1985                           and Administration of
                                                                       Dental and Related
                                                                       Health Care Services
                Standard Shield
                Design (Color coded)




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 617304                              06-Dec-     Oct. 1947        Underwriting, on a
                                     1955                         prepayment basis, the
                                                                  expense to the patient
                                                                  of medical care and
                                                                  underwriting the
                                                                  doctor's expense in
                Standard Shield                                   furnishing medical
                Design                                            care

 1039866                             18-May-     Jul. 24, 1973    Prepaid financing and
                                     1976                         administration of
                                                                  medical, hospital and
                                                                  related health services

                Standard Shield
                Design (in Color)

 1997329                             27-Aug-     Jan. 01, 1996    Underwriting,
                                     1996                         financing,
                                                                  administration, and
                                                                  brokerage of life
                                                                  insurance
                Standard Shield
                Design (in Color)

 1514572                             29-Nov-     Jul. 24, 1973    Educational books,
                                     1988                         binders, printed
                                                                  forms, business
                                                                  forms, trade journals,
                                                                  notebooks, writing
                STANDARD                                          paper, envelopes,
                SHIELD DESIGN                                     pens and pencils

                                     22-Aug-     Aug. 01, 1988    Items of clothing and
 3132423                             2006                         headgear, namely, t-
                                                                  shirts, shorts,
                                                                  sweatshirts,
                Standard Shield                                   sweatpants, pullover
                Design                                            tops, jackets, coats,
                                                                  socks, hats, caps and
                                                                  visors
 3132425                             22-Aug-     Aug. 01, 1988    All purpose athletic
                                     2006                         and sports bags,
                                                                  beach bags, carry-on
                                                                  bags, tote bags,
                                                                  luggage, briefcase-
                Standard Shield                                   type portfolios and
                Design                                            umbrellas




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 3132573                           22-Aug-     Aug. 01, 1988    Pencils, pens, writing
                                   2006                         paper, envelopes,
                                                                announcement cards,
                                                                [ non-electric pencil
                                                                sharpeners, ] drawing
                                                                pads, paper
                                                                identification tags,
                Standard Shield                                 paper sheets, note
                Design                                          pads, greeting cards,
                                                                paperweights, stands
                                                                for pencils and pens,
                                                                calendars, diaries and
                                                                stickers
 3219840                           20-Mar-     Aug. 01, 1988    Playthings, namely,
                                   2007                         plastic toy animal
                                                                figurines and stuffed
                                                                animals

                Standard Shield
                Design
 3132571                           22-Aug-     Jan. 01, 1979    Coffee mugs and cups
                                   2006



                Standard Shield
                Design
 7207986                           31-Oct-     Class 9:         Class 9: Providing a
                                   2023        Jan. 01, 2020    website featuring
                                                                healthcare related
                                               Class 36:        resources in the
                                               Jun. 01, 1969    nature of online non-
                                                                downloadable
                Standard Shield                Class 41:        publications, namely,
                Design                         Jan. 01, 2015    reports, infographics,
                                                                stories, and news
                                               Class 44:        articles in the fields of
                                               Jan. 01, 2015    health, wellness, and
                                                                healthcare
                                                                Class 36: Insurance
                                                                services, namely,
                                                                underwriting,
                                                                issuance, and
                                                                administration of
                                                                health insurance
                                                                Class 41: Providing a
                                                                website featuring
                                                                healthcare related
                                                                resources in the
                                                                nature of online non-
                                                                downloadable
                                                                publications, namely,

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                                                                 reports, infographics,
                                                                 stories, and news
                                                                 articles in the fields of
                                                                 health, wellness, and
                                                                 healthcare
                                                                 Class 42: Providing a
                                                                 website featuring
                                                                 information about
                                                                 healthcare related
                                                                 scientific research
                                                                 Class 44: Providing
                                                                 personalized remote
                                                                 healthcare and
                                                                 medical information
                                                                 in the nature of
                                                                 medical consultations,
                                                                 namely, providing
                                                                 diagnosis,
                                                                 information, advice,
                                                                 intervention,
                                                                 monitoring and
                                                                 treatment in real time
                                                                 via telephone, online
                                                                 chat or
                                                                 videoconferencing,
                                                                 online remote
                                                                 services in the area of
                                                                 healthcare and
                                                                 wellness through the
                                                                 use of personal
                                                                 computer and mobile
                                                                 wireless devices;
                                                                 providing a healthcare
                                                                 resources website
                                                                 featuring information
                                                                 in the fields of health,
                                                                 wellness and
                                                                 healthcare
 2076689        BLUECARD         Jul. 8, 1997   Mar. 1, 1995     Prepaid financing and
                                                                 administration of
                                                                 hospital, medical and
                                                                 health care services



 2184155        BLUECARD         25-Aug-        Class 36:        Class 36: Prepaid
                WORLDWIDE        1998           Dec. 1996        financing and
                                                                 administration of
                                                Class 42:        medical, hospital and
                                                Dec. 1996        related health care
                                                                 services


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                                                              Class 42:
                                                              Comprehensive health
                                                              care benefit programs,
                                                              including those
                                                              rendered through a
                                                              health maintenance
                                                              organization, namely,
                                                              physician, dental,
                                                              hospital, home health
                                                              care, preventive
                                                              health treatment,
                                                              therapy, pharmacy,
                                                              and ambulatory
                                                              services




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                               EXHIBIT B




Reg. No.      Mark           Reg. Date         First Use in      Services
                                               Commerce
2751535       ANTHEM         Aug. 19, 2003     Jul. 25, 1991     Insurance
                                                                 administration
                                                                 and insurance
                                                                 underwriting in
                                                                 the field of health
                                                                 care insurance,
                                                                 namely health
                                                                 maintenance
                                                                 organizations;
                                                                 insurance claims
                                                                 processing in the
                                                                 field of health
                                                                 care insurance,
                                                                 namely health
                                                                 maintenance
                                                                 organizations;
                                                                 Health care in the
                                                                 nature of health
                                                                 maintenance
                                                                 organizations
3251801       ANTHEM         Jun. 12, 2007     Aug. 1, 2004      Financial
                                                                 services, namely,
                                                                 administration
                                                                 and management
                                                                 of health savings
                                                                 accounts.
2930448       ANTHEM         Mar. 8, 2005      Sep. 1, 1990      Insurance
                                                                 underwriting,
                                                                 consulting, and
                                                                 claims
                                                                 administration
                                                                 services.
4722826       ANTHEM         Apr. 21, 2015     Sep. 1, 1990      Newsletters and
                                                                 printed guides
                                                                 relating to health
                                                                 plans, health care
                                                                 and health issues;




                                     1
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                                        Sep. 1, 1990      Cost
                                                          management for
                                                          the health care
                                                          benefit plans of
                                                          others; health
                                                          care cost
                                                          containment;
                                                          health care
                                                          utilization review
                                                          services;
                                                          business services
                                                          provided to the
                                                          health care and
                                                          insurance
                                                          industries,
                                                          namely, the
                                                          collection,
                                                          reporting, and
                                                          analysis of health
                                                          care information
                                                          and health care
                                                          cost and quality
                                                          data for business
                                                          purposes;
                                                          medical discount
                                                          program, namely,
                                                          administration of
                                                          a program
                                                          enabling
                                                          participants to
                                                          obtain discounts
                                                          on products and
                                                          services in the
                                                          fields of health,
                                                          vision, dental,
                                                          behavioral
                                                          health, and
                                                          prescription
                                                          drugs;

                                        Dec. 31, 2011     Electronic
                                                          transmission of
                                                          health care
                                                          insurance data;




                               2
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                                        Jan. 31, 1996     Providing a
                                                          website featuring
                                                          blogs in the
                                                          fields of health,
                                                          wellness,
                                                          nutrition, weight
                                                          loss, stress
                                                          management,
                                                          stress reduction,
                                                          exercise, and
                                                          fitness; providing
                                                          an interactive
                                                          website featuring
                                                          information,
                                                          nondownloadable
                                                          videos and links
                                                          to the websites of
                                                          others in the field
                                                          of exercise and
                                                          fitness and
                                                          nondownloadable
                                                          videos relating to
                                                          health, wellness,
                                                          nutrition, weight
                                                          loss, stress
                                                          management and
                                                          stress reduction;

                                        May 3, 2007       Providing an
                                                          online tool,
                                                          namely,
                                                          providing
                                                          temporary use of
                                                          non-
                                                          downloadable
                                                          software that
                                                          provides
                                                          consumers with
                                                          information
                                                          about costs for
                                                          various medical
                                                          procedures;

                                        Feb. 2004         Providing
                                                          information on
                                                          health and health


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                                                         care via the
                                                         Internet;
                                                         providing
                                                         personal health
                                                         information via
                                                         the Internet;
                                                         providing health
                                                         care information
                                                         via telephone;
                                                         medical
                                                         counseling;
                                                         personal medical
                                                         history
                                                         management
                                                         services, namely,
                                                         maintaining
                                                         computerized
                                                         medical data,
                                                         claim data and
                                                         databases
                                                         containing the
                                                         medical
                                                         condition of
                                                         individuals for
                                                         medical
                                                         management
                                                         purposes;
                                                         providing an
                                                         online medical
                                                         health records
                                                         database;
                                                         wellness and
                                                         health-related
                                                         consulting
                                                         services;
                                                         consulting
                                                         services in the
                                                         fields of medical
                                                         care; providing
                                                         an interactive
                                                         website featuring
                                                         information and
                                                         links to the
                                                         websites of
                                                         others relating to
                                                         health, wellness,


                               4
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                                                               nutrition, weight
                                                               loss, stress
                                                               management and
                                                               stress reduction.
5713955       ANTHEM         Apr. 2, 2019     Jan. 4, 2013     Downloadable
                                                               mobile
                                                               applications for
                                                               use in accessing
                                                               and viewing
                                                               health insurance
                                                               information,
                                                               researching and
                                                               finding doctors,
                                                               tracking health
                                                               insurance plan
                                                               information and
                                                               health insurance
                                                               claims, accessing
                                                               and viewing
                                                               health
                                                               information,
                                                               communicating
                                                               with insurance
                                                               providers
                                                               regarding issues
                                                               related to health
                                                               and health
                                                               insurance,
                                                               estimating health
                                                               costs, checking
                                                               copays and
                                                               deductibles, and
                                                               sending and
                                                               receiving
                                                               messages related
                                                               to health and
                                                               health insurance




                                    5
